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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="8b83e2acc8"&gt;&lt;span data-sentence-id="cb8ed87e75" quote="false" data-paragraph-id="8b83e2acc8"&gt; Tad Bowler, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="bbf5db149b" quote="false" data-paragraph-id="8b83e2acc8"&gt; &lt;br /&gt; Ross David Blankenship, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="84345bb7d9"&gt;No. 21SC417&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="084f661c58"&gt;December 21, 2021&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="6d886e12c8"&gt;&lt;span data-sentence-id="69d9dfab1d" quote="false" data-paragraph-id="6d886e12c8"&gt; Eagle County District Court Case No. 20CV30235 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="41e033a2e8"&gt;&lt;span data-sentence-id="d6d9b411c2" quote="false" data-paragraph-id="41e033a2e8"&gt; &lt;strong&gt;DENIED PETITIONS FOR WRIT OF CERTIORARI&lt;/strong&gt; &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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